Case 2:16-md-02687-JLL-JAD Document 634 Filed 02/01/18 Page 1 of 9 PageID: 12028




 NOT FOR PUBLICATION

                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


                                                                  Civil Action No.: 16-rnd-2687 (JLL)

  IN RE LIQUID ALUMINUM SULFATE                                                 OPINION
  ANTITRUST LITIGATION



  This Document Relates to: City of Greensboro,
  North Carolina v. American Securities, LLC, e
  al.; Civ. Action No. 17-6674


 LINARES, Chief District Judge.

         This matter comes before the Court by way of Defendants American Securities, LLC,

 Matthew LeBaron, and Scott Wolff’s Motion to Dismiss pursuant to Rule 12(b)(6) of the Federal

 Rules of Civil Procedure.         (ECF Nos. 55 1-552).         All Plaintiffs have collectively opposed

 Defendants’ Motion (ECF No. 584), to which Defendants have not replied. The Court decides this

 matter without oral argument pursuant to Rule 78 of the Federal Rules of Civil Procedure. For the

 reasons set forth below, the Court denies Defendant’s Motions to Dismiss.

                                           I.       BACKGROUND’

        The Court has set forth, at length, the factual and procedural background as it pertains to

 this Multidistrict Litigation in its Opinion dated July 20, 2017.                 (ECF No. 405 at 1-24).

 Accordingly, the Court need not restate, and hereby incorporates, same herein. Thus, the Court




  This background is derived from City of Greensboro, North Carolina’s Complaint against Defendant American
(“Compi.”), which was docketed in Civ. Action No. 17-6674. (ECF No. 1). The Court must accept the allegations
therein as true at this stage of the proceedings. See Alsion v. Countiywide fin. Coip., 585 F.3d 753, 758 (3d Cir.
2009).
Case 2:16-md-02687-JLL-JAD Document 634 Filed 02/01/18 Page 2 of 9 PageID: 12029




 will only set forth the relevant factual and procedural background as it pertains to these specific

 Defendants and their Motion to Dismiss.

         As the parties are aware, this case involves a substance known as Liquid Aluminum Sulfate

 (“Alum”). (Id. at 8-9). It is alleged that the various Defendants in this case illegally “colluded to

 fix the price of Alum and/or allocate customers thereby restraining free trade.”                       (Id. at 9).

 Accordingly, the various direct purchaser, indirect purchaser, and individual plaintiffs brought a

 myriad of actions seeking to recover damages for, inter alia, violation of Section 1 of the Sherman

 Act, 15 U.S.C.   §   1. (See generally id.; see also Compl.).

         Defendant American “is a private equity finn based in New York, New York” and is a duly

 formed limited liability company under New York law. (Cornpl.                 ¶   11). At some point in 2009,

 and through 2014, Defendant American owned Defendant GenChem.2 (Id.                         ¶   12). During this

 same time period, Defendant “LeBaron was a Managing Director of [Defendant] American

 Securities.” (Id.    ¶   15). Defendant LeBaron joined Defendant American in 1999. (Id.). Also

 throughout this time period, and through present, Defendant Wolff was, and remains, “a Managing

 Director of [Defendant] American Securities.” (Id.             ¶   16). Defendant Wolff joined Defendant

 American in 2003. (Id.).

         Generally, the allegations of this specific Complaint          mirror   those the Court has discussed

 previously. Indeed, the Complaint sets forth allegations regarding the Alum industry and market,

 including the fact that the Alum market has been consolidated over the years and the fact that there

 is a lack of substitutes for Alum, as well as a general description of what Alum is. (Id.              ¶] 53-71).


2 Defendant
            GenChem     is comprised of the following entities: 1) General Chemical Corporation; 2) General Chemical
LLC; and 3) General Chemical Performance Products LLC. (Compl. ¶ 17). These entities shall collectively be
referred to herein as “Defendant GenChem.”
Case 2:16-md-02687-JLL-JAD Document 634 Filed 02/01/18 Page 3 of 9 PageID: 12030




 Additionally, the subject Complaint also discusses the various other defendants, and their role in

 the alleged conspiracy. (Id. ¶J 17-41, 45-52, 72-81). The Complaint even includes the same and/or

 nearly identical specific instances of bid coordination and/or customer allocation. (Id.                ¶J 82-1 12).
 Finally. Plaintiff includes a history and explanation of the conspiracy, which is identical to the

 previous complaints.       (Id.   ¶J   125-44).   Hence, once again, a full recitation of these facts is

 unnecessary.

        The allegations that are unique to this specific Complaint revolve around these three

 Defendants. According to Plaintiffs, Defendants American, LeBaron, and Wolff were “intimately

 involved with the water chemical business of [Defendant] GenChem, including reviewing and

 authorizing significant Alum bids and overseeing its announced intent to ‘optimize’ Alum prices

 within the market, i.e. increase them.” (Id.      ¶ 113).      Plaintiff asserts that, after Defendant American

 acquired Defendant GenChem, Defendant American required that all bids over a certain amount

 made by Defendant GenChem be approved by Defendant American. (Id.                       ¶   114). Thus, Plaintiff

 alleges that “[o]fien the price approved by [Defendant] American Securities was determined by

 whether [Defendant] GenChem was submitting a bid for one of its incumbent accounts that, in

 accordance with the conspiracy, [Defendant] GenChern was predestined to ‘win,’ or whether

 [Defendant] GenChem would be submitting an intentionally losing ‘throw-away’ bid in

 furtherance of the conspiracy.” (Id.).

        Further, Defendant American “requested monthly reports” so that it could monitor the

 conspiracy. (Id.   ¶   115). Plaintiff asserts that these reports allowed Defendants to “track whether

 bids were won by the ‘incumbent’ manufacturer              —   i.e., the heart of the conspiracy   —   or whether a

 challenger had won an Alum bid.” (Id.). Said reports were also allegedly designed to track


                                                        3
Case 2:16-md-02687-JLL-JAD Document 634 Filed 02/01/18 Page 4 of 9 PageID: 12031




 whether other members of the conspiracy were acting in a manner that was consistent with the

 price rigging, bid fixing, and customer allocation scheme. (Id.).

         Plaintiff provides numerous specific examples of Defendants’ involvement in the alleged

 conspiracy.    “For example, in 2010, [Defendant] LeBaron           ...   asked [Defendant] GenChem

 executives to confirm that [Defendant] GenChern would not seek to bid against incumbent

 competitors for certain large accounts.” (Id.    ¶     117). Defendant LeBaron allegedly “sought to

 ensure that bids submitted by [Defendant] GenChem conveyed the correct signals by

 distinguishing bid amounts for accounts at which [Defendnat] GenChem was the historical

 incumbent and those that were historically supplied by a co-conspirator.” (Id.    ¶ 11$).   This specific

 Complaint is laden with additional examples of Defendants’ alleged involvement in the purported

 conspiracy. (Id.   ¶]   119-124).

                                      II.     LEGAL STANDARD

         To withstand a motion to dismiss for failure to state a claim, “a complaint must contain

 sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.”

 Ashcroft v. Iqbal, 556 U.S. 662, 67$ (2009) (quoting Bell Ati. Corp. v. Twombly, 550 U.S. 544,

 570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual content that allows

 the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

 Iqbal, 556 U.S. at 67$ (citing Twomb!v, 550 U.S. at 556). “The plausibility standard is not akin to

 a ‘probability requirement,’ but it asks for more than a sheer possibility that a defendant has acted

 unlawfully.” Id.

        To determine the sufficiency of a complaint under Twomblv and Iqbat in the Third Circuit,

 the court must take three steps: first, the court must take note of the elements a plaintiff must plead


                                                    4
Case 2:16-md-02687-JLL-JAD Document 634 Filed 02/01/18 Page 5 of 9 PageID: 12032




 to state a claim; second, the court should identify allegations that, because they are no more than

 conclusions, are not entitled to the assumption of truth; finally, where there are well-pleaded

 factual allegations, a court should assume their veracity and then determine whether they plausibly

 give rise to an entitlement for relief. See Connellv v. Lane Consir. Coip., 809 F.3d 780, 787 (3d

 Cir. 2016) (citations omitted). “In deciding a Rule 12(b)(6) motion, a court must consider only

 the complaint, exhibits attached to the complaint, matters of public record, as well as undisputedly

 authentic documents if the complainant’s claims are based upon these documents.” Mayer v.

 Beliclzick, 605 F.3d 223, 230 (3d Cir. 2010).

                                             III.   ANALYSIS

         Against the aforementioned factual background. Plaintiff brought this action asserting a

 single claim for violation of Section 1 of the Shenran Act. (Id.    145-48). Defendants now     move


 to dismiss, advancing two arguments in favor of dismissal. (ECF No. 552 (“Def. Mov. Br.) at 8-

 20). First, Defendants assert that their ownership of Defendant GenChern alone cannot serve as a

 basis for liability.   (Id. at 6-7).   Additionally, Defendants argue that the Complaint “fails to

 plausibly suggest the existence of an agreement to restrain trade involving” them. (Id. at 7-16).

 Both of these arguments turn on the sufficiency of the allegations in Plaintiffs Complaint.

 Accordingly, the Court addresses both jointly herein.

         Section 1 of the Shennan Act provides that:

                 Every contract, combination in the form of trust or otherwise, or conspiracy,
                 in restraint of trade or commerce among the several States, or with foreign
                 nations, is declared to be illegal. Every person who shall make any contract
                 or engage in any combination or conspiracy hereby declared to be illegal
                 shall be deemed guilty of a felony, and, on conviction thereof, shall be
                 punished by fine not exceeding $100,000,000 if a corporation, or, if any
                 other person, $ 1,000,000, or by imprisonment not exceeding 10 years, or
                 by both said punishments, in the discretion of the court.

                                                    5
Case 2:16-md-02687-JLL-JAD Document 634 Filed 02/01/18 Page 6 of 9 PageID: 12033




 15 U.S.C.     § 1. The Third Circuit has explained that there are four essential elements of a §            I

 violation:

                  (1) concerted action by the defendants; (2) that produced anti-competitive
                  effects within the relevant product and geographic markets; (3) that the
                  concerted action was illegal; and (4) that the plaintiff was injured as a
                  proximate result of the concerted action.


 Queen City Pizza, Inc. v. Domino        Pizza, Inc., 124 F.3d 430, 442 (3d Cir. 1997). Moreover,

 “[b]ecause    § 1 of the Sherman Act ‘does not prohibit [all] unreasonable restraints of trade.   .   .   but

 only restraints effected by a contract, combination, or conspiracy,’ ‘[t]he crucial question’ is

 whether the challenged anticompetitive conduct ‘stern[sJ from independent decision or from an

 agreement, tacit or express.” Twombly, 550 U.S. at 553. As a result, “stating such a claim requires

 a complaint with enough factual matter (taken as true) to suggest that an agreement was made.”

 Id. at 556.

         The Court finds that Plaintiffs Complaint satisfies the above standard and therefore states

 aprimafacie cause of action for violation of Section 1 of the Shennan Act. As was the case with

 the previous complaints this Court has examined, Plaintiffs Complaint contains all the requisite

 allegations to survive a motion to dismiss. Specifically, Plaintiff has alleged that Defendants acted

 in concert to restrain free trade in the Alum market by way of bid rigging and customer allocation.

 (Compl.   ¶J 72-75). This was accomplished via “inter-conspirator meetings and communication”
 between all defendants, including Defendants herein.        (Id.   ¶] 76-81). Also, as noted above,
 Plaintiff points to “specific instances of bid coordinating” by all defendants. (Id.   ¶] 82-105).



                                                    6
Case 2:16-md-02687-JLL-JAD Document 634 Filed 02/01/18 Page 7 of 9 PageID: 12034




         Plaintiff also alleges that all defendants engaged in “widespread anomalous bidding

 behavior.” (Id.   ¶ 106-10).   Furthernrnre, Plaintiff asserts that all defendants engaged in “policing

 and enforcement efforts” in order to assure that the conspiracy was maintained. (Id.         ¶J   111-12).

 Plaintiff claims that this conduct caused the price of Alum to be artificially increased nationwide,

 which produced an anti-competitive result that was felt throughout the country. (Id.         ¶    125-29).

 Moreover, Plaintiff alleges that all defendants’ conduct was illegal in violation of Section 1 of the

 Sherman Act. (Id.    ¶   10, 44, 80, 134, 138). Finally, Plaintiff asserts it was monetarily damaged

 by being forced to buy Alum at an artificially inflated price. (Id.   ¶J   10, 23, 47, 147, 15 1-53).

         Additionally, it is important to note that Plaintiff makes the same allegations as all other

 plaintiffs in this case regarding all defendants, but also makes specific allegations with regards to

 Defendants herein.       As discussed above, Plaintiff lists specific instances of Defendants’

 involvement in the conspiracy. (Id.      ¶   113-24). The majority of the examples occurred in 2010,

 which is approximately one year after Defendants purchased Defendant GenChem. (Id.                ¶J    116-

 24).

         Therein, Plaintiff lists more than sufficient allegations to support a claim for violation of

 Section 1 of the ShenTlan Act.        Plaintiff claims that Defendants, in concert with the other

 defendants, engaged in conduct that was specifically designed to negatively impact the Alum

 market for their own benefit. (Id.   ¶   117, 121-24). Once again, Plaintiff alleges that this conduct

 was illegal and did in fact cause the price of Alum to become artificially inflated and Defendants

 themselves damaged Plaintiff by causing it to purchase Alum at an artificially inflated price. (Id.

 ¶   10, 23, 47,117, 121-24, 147, 151-53). Therefore, the Court is satisfied that Plaintiff has pled a




                                                     7
Case 2:16-md-02687-JLL-JAD Document 634 Filed 02/01/18 Page 8 of 9 PageID: 12035




 prima fade cause of action for violation of Section 1 of the Sherman Act against Defendants

 herein.

           Having resolved the argument that pertains to the sufficiency of the allegations, the Court

 turns its attention to Defendants’ second argument. There, Defendants argue that their mere

 ownership of Defendant GenChern is insufficient to subject them to liability for Defendant

 GenChern’s alleged antitrust conduct. (Def. Mov. Br. at 6-7). This argument fails for two reasons.

 First, such an argument seems to be more appropriate for the summary judgment phase of the case

 and not the motion to dismiss phase, as this Court must accept all the facts in Plaintiffs Complaint

 as true at this juncture. See Aiston, 585 F.3d at 758.

           More importantly, Plaintiffs Complaint contains sufficient allegations that, if found to be

 true by a jury, would potentially subject Defendants to liability for their involvement in the alleged

 conspiracy. Indeed, as Plaintiff correctly notes “[a] complaint states a claim against a parent where

 the parent itself is plausibly alleged to have joined the conspiracy.” (ECF No. 584 (“P1.   Opp. Br.”)
 at 9) (citingln reProcessed Egg Prods. Antitrust Litig., $21 F. Supp. 2d 709, 747 (E.D. Pa. 201 1))

 (additional citations omitted).     The aforementioned allegations are more than sufficient to

 “plausibly suggest that each Defendant participated in the alleged conspiracy.” In re Static

 Random Access Memoty SRAIv1) Antitrust Litig., 580 F. Supp. 2d 896, 904 (N.D. Cal. 200$).

 Accordingly, the Court does not find Defendants’ argument persuasive at this juncture.

 Defendants are welcome to renew this argument should discovery tend to show otherwise.

 However, at this juncture, the Court must deny Defendants’ Motion to Dismiss.




                                                   $
Case 2:16-md-02687-JLL-JAD Document 634 Filed 02/01/18 Page 9 of 9 PageID: 12036




                                       IV.    CONCLUSION

         For the aforementioned reasons, Defendants’ Motion to Dismiss (ECF Nos. 551-552)

  Plaintiffs Complaint is hereby denied. An appropriate Order accompanies this Opinion.



 DATED: February jO18
                                             JOS   LENA ES
                                             C7fJudge, United States District Court




                                               9
